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                           EXHIBIT F
     Case 4:20-cv-00957-SDJ Document 379-2 Filed 04/16/24 Page 2 of 4 PageID #: 10583
  Message
  From:
  Sent:        4/2/2008 5:05:43 AM
  To:                                                       ; Sundar Pichai      ;

  Subject:     Re: Highlights and Lowlights for the Board



  Nice!
  Sent from BlackBerry

  ----- Original Message -----
  From:
  To: Sundar Pichai;
  Sent: Tue Apr 01 22:04:19 2008
  Subject: FW: Highlights and Lowlights for the Board

  For the record, I'm NOT always right about EVERYTHING, but there are some limited things I'm REALLY SURE
  I'm right about and when I'm REALLY SURE I'm right and you're betting your career bank on me! ! ! Note my
  reply crossed     's with the same time stamp!! !



  From:
  Sent: Tuesday, April 01, 2008 10:02 PM
  To: Sundar Pichai;             ;
  Subject: RE: Highlights and Lowlights for the Board



  Thanks Sundar. This is much more in line with the kind of stuff        has used in the past. Thanks for
  staying up and working on it. We all appreciate it....It's definitely, much, much more      like! ! !



  From: Sundar Pichai [                        ]
  Sent: Tuesday, April 01, 2008 10:00 PM
  To:             ;
  Subject: Re: Highlights and Lowlights for the Board



      ,



           reviewed this and gave us good comments about making this all much simpler overall . So here is a
  much simpler version. This will be included in the board book being sent to you for review tonight. I am
  pasting it below. Thanks Sundar



  https://docs.google.com/a/google.com/Doc?docid=ccbcbggm_172hkwj49hr
  <https://docs.google.com/a/google.com/Doc?docid=ccbcbggm_172hkwj49hr>




  Highlights



  Traffic & Revenue:

         Revenue, traffic, cash and profit continue to grow
         Continued strong search share in US and EMEA and rapid query growth in JAPAC
         continued growth in advertising but growth rate is slowing.
         Closed DoubleClick acquisition after receiving unconditional clearance from the EC; Integration of
  DoubleClick proceeding according to plan. First day of business 4/7.




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  Product & Eng:
  n

         Good progress on latency following company wide "code yellow" but more work remains.
         universal search continues to roll out aggressively; Launched several search quality improvements,
  focusing on international relevancy
         Web search now serving an aggregate 40B index with two 6B regional (Asian and Global) subsets.
  rt     Strong growth in key consumer products - iGoogle, Clients and Maps
         Strong adoption of webmaster & developer tools
         Launched Google Ad Manager to publishers
         Continued improvements to ads quality led to RPM and CTR gains (+3.5% RPM on google.com, +5% RPM
  on Adsense network)
         Good traction with Invideo ads in Youtube
         Strong growth in core Apps and suite is maturing in functionality; Launched Google Sites and
  Offline Docs
         YouTube continues to win with user traffic. Reached 1B peak pageviews/day
         Established OpenSocial .org with Yahoo and MySpace; Started rollout of OpenSocial containers on
  MySpace, Hi5 & Orkut.
         Strong growth in mobile search traffic

  Partnerships and other:

         Important partnership with SalesForce.com. Announcing on April 14th
         Several major partnership and distribution deals driving traffic and revenue: Nokia, RTL (Europe's
  largest television company), Gretech (first partner in Korea), Optus (Australia), Singtel (Singapore)
         YouTube: Signed video protection agreements for the content ID system with several key partners,
  including Viacom, Turner Broadcasting, Televisa, and TF1.
         Reorganized the marketing organization to shift resources from Product to quota-bearing regional
  sales presidents.

  Lowlights
  rt       High volatility in stock price (Comscore report errors, uncertain impact of recession)
           Ads revenue growth rate continues to slow
           Latency problems continue specially in Asia
           Increasing frequency of countries blocking YouTube
  rt       Negative trend of public and press perception continues
  rt       Privacy concerns of Google products on the rise (recent Reader, Health launches)
           Rolling and regretted attrition rate increased slightly, loss of key employees to Facebook
           Under utilization of existing machine resources affecting growth



  On Mon, Mar 31, 2008 at 3:34 PM, Sundar Pichai <                   > wrote:

       ,



  Here's a list of suggested highlights and lowlights for Q1 for the upcoming board meeting. These are
  based on inputs from board letter, slides, company OKRs and GPSes. Please let us know if you would like
  us to include anything else or have any comments. we have added you so that you can edit the document
  directly if you want as well . Thanks



  https://docs.google.com/a/google.com/Doc?docid=ccbcbggm_172hkwj49hr



  Thanks



  sundar




  Sundar Pichai
  Google, Inc.

  Voice:




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